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                    EXHIBIT 1
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                                                                     Page 1
   IN THE UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF LOUISIANA
                 - - -

 IN RE: XARELTO           : MDL NO. 2592
 (RIVAROXABAN) PRODUCTS :
 LITIGATION               : SECTION L
                          :
 THIS DOCUMENT RELATES : JUDGE ELDON
 TO ALL CASES             : E. FALLON
                          :
                          :
                          : MAG. JUDGE
                          : NORTH
                 VOLUME I
                   - - -
              April 12, 2016
                   - - -
                - PROTECTED -
- SUBJECT TO FURTHER PROTECTIVE REVIEW -
              Videotaped deposition of
PETER M. DiBATTISTE, M.D., taken pursuant
to notice, was held at the law offices of
Drinker, Biddle & Reath, 105 College Road
East, Princeton, New Jersey, beginning at
8:58 a.m., on the above date, before
Michelle L. Gray, a Registered
Professional Reporter, Certified
Shorthand Reporter and Notary Public.
                  - - -
        GOLKOW TECHNOLOGIES, INC.
   877.370.3377 ph | 917.591.5672 fax
              deps@golkow.com
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                                      Page 18                                          Page 20
 1        Q. And you are -- you are a             1        can answer.
 2   medical doctor; is that correct?             2            THE WITNESS: I believe
 3        A. Yes.                                 3        that's correct.
 4        Q. And where are you presently          4   BY MR. McWILLIAMS:
 5   employed?                                    5        Q. Have you ever made more than
 6        A. I work for Janssen                   6   $2 million in any one particular calendar
 7   Research & Development, LLC.                 7   year?
 8        Q. And can you briefly tell the         8            MS. SHARKO: Objection.
 9   jury that might be watching this video       9            THE WITNESS: I don't know.
10   what it is you -- you do for Janssen and    10        I know salary. I don't know how
11   what you've done for Janssen.               11        the -- the other pieces come in.
12        A. Sure. I am the global               12        So you probably have a better
13   development head for cardiovascular,        13        understanding of that than I do.
14   which means I'm responsible for all of      14   BY MR. McWILLIAMS:
15   our cardiovascular research and             15        Q. So part of your compensation
16   development programs. The large             16   comes in the form of stocks?
17   majority, right now in 2016, are related    17        A. That's correct.
18   to rivaroxaban or Xarelto.                  18        Q. And part of your
19        Q. And how long have you worked        19   compensation, what determines your
20   for Janssen?                                20   compensation, either bonus or the amount
21        A. About ten and a half years.         21   of stock, is the performance of the
22        Q. And what other drugs, if            22   company and the performance of the drugs
23   any, do you have responsibility for?        23   which you have responsibility for; is
24        A. At Janssen?                         24   that fair?

                                      Page 19                                          Page 21
 1        Q. Yes, sir.                            1        A. I would say not -- not the
 2        A. I worked at different times          2   latter. I would say the compensation is
 3   for and had varying degrees of               3   based on individual performance as well
 4   responsibility for dapoxetine or Priligy,    4   as company performance.
 5   for nesiritide or Natrecor, and for some     5        Q. And you understand that
 6   earlier programs, one that we have that's    6   Xarelto is a blockbuster drug for
 7   preclinical right now before -- it hasn't    7   Janssen, generating more than a billion
 8   made it to unit trials yet.                  8   dollars in sales?
 9        Q. Would it be fair to                  9        A. I do.
10   characterize you as a high-ranking          10        Q. And it's one of the most
11   executive within Janssen?                   11   profitable drugs currently in the
12            MS. SHARKO: Object to the          12   company's portfolio?
13        form of the question. You can          13        A. I am not saying this to be
14        answer.                                14   evasive. I -- I don't understand. I'm
15            THE WITNESS: I am a vice           15   really not a business person. So in
16        president level. I -- I don't          16   terms of profitability versus revenue,
17        know how that qualifies in terms       17   I'm not good at that. So I can't comment
18        of high-ranking or medium-ranking.     18   on that piece. It may be true. I'm just
19   BY MR. McWILLIAMS:                          19   not sure.
20        Q. You make an excess of a             20        Q. What, if anything, did you
21   million dollars a year in total             21   do to prepare for your deposition today?
22   compensation; some years you've made more   22        A. I met with my attorneys. I
23   than $2 million; is that correct?           23   did review the package insert, the -- the
24            MS. SHARKO: Objection. You         24   prescribing information. And I had a

                                                                    6 (Pages 18 to 21)
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                                    Page 246                                         Page 248
 1        Q. Okay. I appreciate that.             1       Q. Okay. Let's see if I can
 2   All right. You can put that away. I'm        2   refresh your memory.
 3   going to shift topics for a second.          3           (Document marked for
 4        A. Okay.                                4       identification as Exhibit
 5        Q. Sir, you testified a little          5       DiBattiste-25.)
 6   bit ago about Dr. Califf. And I believe      6   BY MR. McWILLIAMS:
 7   he was the co-principal investigator in      7       Q. I'm handing you what's been
 8   ROCKET, is that accurate, under              8   marked as DiBattiste-25.
 9   Dr. Patel?                                   9       A. Okay.
10        A. I thought he was --                 10       Q. This is a confidential
11        Q. The principal?                      11   e-mail from Bob Califf, who is now the
12        A. -- at the head of the chain.        12   commissioner of the FDA, correct?
13        Q. Okay. I think they shared           13       A. Yes.
14   titles. But I agree with you.               14       Q. Okay. And this is an e-mail
15        A. Not with -- not with Patel.         15   to you dated June 24, 2008?
16   Maybe with Fox. So it was kind of a         16       A. Yes.
17   hierarchy.                                  17       Q. And so at this point in
18            So I think -- I think you          18   time, patients were enrolling in ROCKET,
19   will find that Califf's the chair. Keith    19   but the clinical trial is very much still
20   is the co-chair. And then Ken Mahaffey      20   ongoing; is that fair?
21   was -- played a role on the executive       21       A. Yes.
22   committee. And Manesh Patel at the time     22       Q. The subject line is
23   played a subordinate role to Ken, I         23   "Confidential," correct?
24   believe.                                    24       A. Correct.

                                    Page 247                                         Page 249
 1        Q. So Califf was the                    1       Q. And have you seen this
 2   highest-ranking person in the hierarchy      2   e-mail in the last six months?
 3   for the ROCKET leadership?                   3       A. No.
 4        A. That is my impression.               4       Q. Okay. He writes to you,
 5   Maybe by title, he and Keith Fox shared      5   "Pete, overall the riva review was very
 6   that. I think Rob Califf was at the top      6   positive. My main concern after seeing
 7   of the list.                                 7   the rest of the data is that our dose is
 8        Q. And do you think he was              8   too high. I don't want to upset people,
 9   deserving of that title in terms of his      9   but feel that we need more contingency
10   knowledge, expertise, abilities?            10   planning."
11        A. Yeah.                               11            Did I read that correctly?
12        Q. Is it true, sir, that               12       A. Yes.
13   Dr. Califf told you personally that he      13       Q. Does that refresh your
14   felt the doses tested in ROCKET were too    14   recollection as to whether or not
15   high?                                       15   Dr. Califf told you, prior to getting the
16        A. After we got the results, he        16   results from ROCKET, that he felt the
17   made clear his opinion that maybe other     17   doses being tested in ROCKET were too
18   doses would have -- would be of value to    18   high?
19   explore.                                    19       A. Yes.
20        Q. Well, he told you he thought        20       Q. Okay.
21   you guys were using the wrong dose before   21       A. Do you have the rest of our
22   you got the data as well. Do you            22   discussion? Because my --
23   remember that?                              23       Q. Yes, sir.
24        A. I don't remember that.              24       A. -- recollection is that

                                                               63 (Pages 246 to 249)
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                                    Page 250                                         Page 252
 1   we -- so since --                            1   I am encouraged that my recollection
 2        Q. Well, go ahead and tell me           2   was -- you know, look at the caveats in
 3   your recollection, and I'll give you         3   there. Somewhat. Though still believe.
 4   whatever e-mails I find about it.            4   Proven to be correct two years later.
 5        A. So my recollection,                  5   And 20 milligrams is likely to have a
 6   although, obviously, I got the date          6   favorable risk/benefit profile.
 7   wrong, is that as we had the discussions,    7         Q. But not quite as good as 10?
 8   we -- well, at this point in time, would     8         A. Speculating, because we
 9   have said, "Well, let's wait and see what    9   never studied 10.
10   the outcomes are." And then, afterwards,    10         Q. Okay. But still you're --
11   we talked about potential, but again went   11   you're agreeing with his concerns
12   back to the outcomes. We have a result      12   somewhat? Caveat.
13   where we've proven an advantage to the      13         A. Somewhat. Yes.
14   current standard of care. So I think        14         Q. Okay. And even after the
15   that's what the discussions entailed, but   15   data came out for ROCKET, so once
16   I have a feeling you are about to confirm   16   Dr. Califf saw the outcomes, once he saw
17   that for me.                                17   the number of strokes and bleeds, he was
18        Q. Well, actually, I -- well, I        18   still of the opinion that better doses
19   mean, isn't it true, sir, that you told     19   could be tested and would -- would create
20   Dr. Califf you agreed with him; you felt    20   better outcomes?
21   that the doses could be improved upon       21         A. He was -- he was of that
22   than those being tested in ROCKET --        22   opinion, yes.
23        A. I would be surprised --             23         Q. Do you know if he still is
24        Q. -- at this point in time?           24   of that opinion?

                                    Page 251                                         Page 253
 1         A. -- if I said at this point          1       A. I don't know.
 2   in time that I agree, I -- if I said         2       Q. Okay.
 3   anything, I would expect that I said it      3       A. I don't know.
 4   in a hypothetical way. But, well, let's      4           (Document marked for
 5   see what I had to say.                       5       identification as Exhibit
 6         Q. Well, let's see -- let's see        6       DiBattiste-27.)
 7   if I can refresh your recollection.          7   BY MR. McWILLIAMS:
 8            (Document marked for                8       Q. Let me hand you what's being
 9         identification as Exhibit              9   marked as DiBattiste-27.
10         DiBattiste-26.)                       10           Now, this is -- this is an
11   BY MR. McWILLIAMS:                          11   e-mail chain. This is fast-forwarding a
12         Q. This I'm handing you is            12   couple years. This is after the data for
13   DiBattiste-26. And this is your reply to    13   ROCKET had come out; is that correct?
14   that prior e-mail. And you wrote, "Rob,     14       A. Yes.
15   thanks" -- "thanks for your note. I         15       Q. October 2011?
16   share your concern somewhat, though still   16       A. Right. This is --
17   believe that 20 milligrams once daily is    17       Q. Let's go to the very last --
18   likely to have a favorable risk/benefit     18   the second page, last e-mail, first
19   profile, perhaps just not quite as good     19   e-mail in time. Dr. Califf writes to you
20   as 10."                                     20   personally on September 26, 2011.
21            And you are talking about          21           That's -- that's just after
22   10 milligrams once a day, or were you       22   the AdCom brief -- or AdCom meeting,
23   talking 10 milligrams twice a day?          23   right?
24         A. I suspect, once a day. But         24       A. Right, one month after.

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                                    Page 266                                         Page 268
 1   reliable is the test? How available is       1        Q. Now, you mentioned a narrow
 2   the test?                                    2   distribution of exposure. You understand
 3             If you have more false             3   that the ROCKET -- the 161 patients in
 4   positives than true positives, are you       4   the ROCKET PK substudy demonstrated
 5   doing benefit, or are you doing harm?        5   inter-patient variability, more than a
 6   All those questions need to be answered.     6   thousandfold from minimum to max?
 7             In the meantime, what do we        7        A. I suppose it depends on how
 8   know? We know that a fixed dose,             8   one defines variability. But I would
 9   according to the way it was prescribed,      9   say -- so maybe I'll offer this caveat
10   achieves an outcome that is pretty darn     10   again. I'm not the PK expert. But our
11   good and -- and better than warfarin on     11   drug, as I understand it, is very well
12   at least a key -- couple of key safety      12   behaved from a PK perspective. Its
13   elements. Arguably on efficacy as well.     13   absorption is pretty tight. And we have
14   BY MR. McWILLIAMS:                          14   arguably -- well, I think we clearly have
15        Q. Okay. But you agree that            15   a better PK profile than a drug like
16   there's -- if there's data that indicates   16   warfarin.
17   an ability to improve and to reduce the     17            But I think our PK profile
18   number of thousands of Americans going to   18   would yield a relatively narrow curve.
19   the hospital as a result of taking this     19   I'm not talking about the
20   drug, that would be a good thing?           20   99.9th percentile and the .1 percentile.
21        A. That was an interesting             21   But I'm saying, if you draw that
22   distillation of what I just said. I         22   distribution curve, we have a pretty --
23   think in the context of what I said, I      23   pretty well-behaved distribution.
24   can agree with what you said.               24        Q. You know that you have the

                                    Page 267                                         Page 269
 1         Q. Okay. And that's why Bob            1   exact same distribution as dabigatran in
 2   Temple, who is aware of all those caveats    2   terms of 5th to 95th, and 10th to 90th?
 3   that you just mentioned, that's why he's     3        A. I don't know that. I
 4   still aggressively pushing for this,         4   struggle with that, honestly, knowing
 5   correct?                                     5   about their bioavailability.
 6             MS. SHARKO: Object to the          6        Q. I promise you it's true, for
 7         form. Asked and answered.              7   what it's worth.
 8             THE WITNESS: I -- again,           8        A. I would propose that you
 9         aggressively pushing for this to       9   have that discussion with a
10         be considered as a potential path.    10   pharmacokinesticist. That's different
11   BY MR. McWILLIAMS:                          11   from my understanding.
12         Q. Okay.                              12        Q. All right. So let's get
13         A. I don't think he's answered        13   back to the topic of Dr. Califf wanting a
14   all those. So I guess the point that I'm    14   lower dose.
15   trying to make is, I don't think Bob        15           (Document marked for
16   Temple has analyzed and thought about the   16        identification as Exhibit
17   answers to all those questions and          17        DiBattiste-28.)
18   concluded that even with all that           18   BY MR. McWILLIAMS:
19   information it's still okay. I think        19        Q. Let me hand you what's been
20   he's saying, "Let's understand that and     20   marked as DiBattiste-28. This is an
21   explore it."                                21   e-mail from Dr. Califf to just you dated
22             And I think that's part of        22   December 19, 2011; is that correct?
23   the exercise that's happening in Europe     23        A. Yes.
24   as well.                                    24        Q. The subject line is "Are you

                                                               68 (Pages 266 to 269)
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                                     Page 270                                        Page 272
 1   off or working this weekend?" This was       1        identification as Exhibit
 2   right before Christmas, right?               2        DiBattiste-29.)
 3        A. Yes.                                 3   BY MR. McWILLIAMS:
 4        Q. So even on Christmas, he's           4        Q. This is DiBattiste-29.
 5   got this on his mind. He's saying, "I've     5        A. Okay.
 6   had a number of encounters with people       6        Q. This is that same e-mail
 7   regarding riva Afib dosing. I have a         7   that you forwarded on to your colleagues
 8   proposal that would, one, get the right      8   at Janssen: Dr. Peters, Troy Sarich,
 9   answer very efficiently; two, demonstrate    9   Paul Burton, Dr. Nessel, correct?
10   the ability of J&J to be innovative,        10        A. Mm-hmm.
11   simple, pragmatic, adaptive design;         11        Q. And you write, "Rob persists
12   three, please the FDA; four, help or at     12   in his interest in exploring other
13   least not hurt your marketing; five,        13   doses."
14   would put you in a much better position     14            Did I read that correctly?
15   when comparative effectiveness              15        A. You forgot the ellipsis.
16   researchers do the head-to-head. You        16        Q. And the dot, dot, dot. I
17   don't want to have the wrong dose then.     17   stand corrected.
18   Would like to discuss."                     18            And then Paul Burton
19           Did I read that correctly?          19   responds, "Perhaps a call with Rob and
20        A. Yes, you read it correctly.         20   this group would be a good way to
21        Q. Is this an e-mail that you          21   proceed."
22   would receive in the ordinary course of     22            And then Dr. Peters replies,
23   business?                                   23   "All, I have a call set up with Rob for
24        A. I would suspect that that's         24   8:00 to 9:00 on Thursday, the 22nd, to

                                     Page 271                                        Page 273
 1   in the ordinary course of business even      1   discuss a few things that won't take an
 2   though it's on a weekend.                    2   hour." "Are you guys available during
 3         Q. I understand. And this              3   this time?" essentially.
 4   is -- is that on a -- yeah. And again,       4            And again, it's Bob -- it's
 5   this is within the rubric of the larger      5   Bob Califf persisting in his interest to
 6   discussion of Dr. Califf pushing for you     6   explore other doses.
 7   guys to consider a lower dose for riva,      7         A. Yes.
 8   correct?                                     8         Q. And again, specifically, his
 9               MS. SHARKO: Object to the        9   interest is reducing bleed risk while
10         form.                                 10   still maintaining efficacy. He doesn't
11               THE WITNESS: I'm not sure       11   say that. But you know that's what he
12         if it's that or in the context of     12   was going after, right? He wouldn't give
13         the head-to-head. But probably        13   up efficacy to reduce a few bleeds, would
14         one -- probably at least one of       14   he?
15         those and possibly both.              15         A. I think you should probably
16   BY MR. McWILLIAMS:                          16   ask that --
17         Q. Well, let me see if this           17            MS. SHARKO: Wait, wait,
18   next e-mail refreshes your recollection.    18         wait.
19         A. Actually, I take it back.          19   BY MR. McWILLIAMS:
20   He says "dosing" in that first line.        20         Q. And we will. But is it --
21         Q. Let's still see if this            21   do I have a fair --
22   refresh -- if this confirms your            22         A. That would make sense. But
23   recollection.                               23   it makes more sense to ask him.
24              (Document marked for             24         Q. And one thing at a time.

                                                               69 (Pages 270 to 273)
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                                    Page 282                                         Page 284
 1        Q. Correct?                             1       what -- what has evolved would
 2            MS. SHARKO: I object to the         2       have modified Dr. Califf's
 3        form and compound nature of that        3       position.
 4        question. What do you want him to       4           But -- but I do agree that
 5        answer?                                 5       he is calling for additional
 6   BY MR. McWILLIAMS:                           6       studies and, in fact, promising --
 7        Q. You understand that one of           7       and it looks like he's now calling
 8   the concerns that Dr. Califf had was that    8       it ROCKET2 as opposed to ROCKET
 9   the apixaban data appeared to be so much     9       Booster, promising that proposal.
10   better than Xarelto, specifically the       10   BY MR. McWILLIAMS:
11   fact that apixaban was able to establish    11       Q. Well, you know that -- has
12   superiority in its intention-to-treat       12   Dr. Califf ever told you that his own
13   analysis with respect to ischemic stroke    13   mother takes apixaban? He had her on
14   and major bleeds?                           14   rivaroxaban, and he switched her to
15            MS. SHARKO: Same objection.        15   apixaban once it became available?
16   BY MR. McWILLIAMS:                          16       A. I didn't know that.
17        Q. Unlike ROCKET, correct?             17       Q. He used her as a case study.
18        A. I'm not sure that that was          18   You didn't know that?
19   his position, especially when you say "so   19       A. I did not.
20   much better." That's not a                  20           (Document marked for
21   conversation --                             21       identification as Exhibit
22        Q. Remove the word "so."               22       DiBattiste-33.)
23            MS. SHARKO: Wait. Let him          23   BY MR. McWILLIAMS:
24        finish his answer.                     24       Q. Let me hand you what's being

                                    Page 283                                         Page 285
 1            Go on. "That's not a                1   marked as DiBattiste-33 and its
 2       conversation" --                         2   attachment. We'll do 33 first.
 3            THE WITNESS: That's not a           3            (Document marked for
 4       conversation that I remember             4        identification as Exhibit
 5       having with him.                         5        DiBattiste-34.)
 6            And, of course, the other           6   BY MR. McWILLIAMS:
 7       potential motive is to have              7        Q. It's attachment
 8       another study, which is what DCRI        8   DiBattiste-34.
 9       is in the business of doing.             9            And this is an e-mail that
10            So it -- it is interesting         10   we received from DCRI and its attachment
11       to me that you see -- you have          11   where Dr. Califf sends this around to his
12       shown me e-mails with repeated          12   colleagues within DCRI, all colleagues
13       kind of doom scenarios about what       13   that worked on ROCKET, I believe.
14       is going to happen. Here's --           14            And he writes, "Please read
15       here is an e-mail where dabigatran      15   and send comments. What I'm not saying
16       is strongly favored in Canada, and      16   is that this would help their marketing
17       you better do a study, or there --      17   while also defending against prospective
18       there will be a number of               18   CER trials while they found" -- "why" --
19       real-world studies done.                19   "while they find the best dose. That is
20            And -- and, in fact, there         20   not our motivation, but it's the only way
21       appears to be a continued               21   that they will be able to sell it
22       significant demand for                  22   internally. I believe they will lose out
23       rivaroxaban. And so -- so I             23   if they don't do this!
24       don't -- I don't know if seeing         24            "Or doomsday."

                                                               72 (Pages 282 to 285)
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                                     Page 410                                         Page 412
 1    think what we're saying is to have only      1           That's what you said,
 2    one active arm in the trial. That's          2   correct?
 3    my -- that's how I put this together.        3        A. Yes.
 4             So if we have confidence in         4        Q. And so you -- at this point
 5    the dose we select and we can use one        5   in time, you really wanted more
 6    active arm instead of two, the trial         6   information about the Bayer modeling and
 7    becomes a 14,000-patient trial as opposed    7   whether or not you could rely upon it
 8    to a 21,000-patient trial. Fewer             8   going forward in ROCKET in one dose?
 9    countries, fewer sites, completes more       9        A. Correct. That's how I
10    quickly. We get our -- our novel            10   interpret this.
11    approach and advance to patients quicker.   11        Q. Okay. So you get a response
12             So that -- that's what I           12   from Scott Reines on the page in front of
13    think I mean here. Single dose.             13   that. It says, "Do you have any sense of
14         Q. Okay. That was your e-mail.         14   the magnitude of this task? We want to
15    So let's -- let's take your understanding   15   help out, but we're barely able to cover
16    of the meaning and use it.                  16   the existing must-dos at this point. I
17         A. Okay.                               17   have asked Paul and Dan to assess this
18         Q. So you're saying if we use a        18   situation as well."
19    single dose in the study, if we are         19           That's the response you got
20    talking about that --                       20   from Scott, correct?
21         A. Mm-hmm.                             21        A. Yes.
22         Q. -- then this would be of            22        Q. Okay. And you respond to
23    value from a competitive standpoint as      23   Scott, and you say basically that "What
24    one of the items that you mentioned,        24   I'm envisioning is an intensive

                                     Page 411                                         Page 413
 1   correct?                                      1   several-day review of the model
 2        A. Yes.                                  2   assumptions and the data as opposed to
 3        Q. It means you can finish the           3   something long-term. Bayer is prepared
 4   study quicker, maybe get approval of the      4   to make a dosing recommendation now, and
 5   drug and enter the marketplace sooner; is     5   I'd just like to have experienced eyes
 6   that fair?                                    6   tell me if what they are proposing is
 7        A. Right. Right.                         7   reasonable or not as well as getting some
 8        Q. Obviously, it also has an             8   handle on the precision of the model."
 9   advantage from a cost perspective, a lot      9            That's what you said back to
10   less patients; is that fair?                 10   Scott, correct?
11        A. Yeah, a third less.                  11        A. Yes.
12        Q. You say, "I understand the           12        Q. Okay. Now, Paul is -- I
13   modeling people are within your groups.      13   think Paul Soons was copied on the e-mail
14   I'd like to request short-term, intensive    14   before. He responds but takes you off of
15   support allowing for our people to           15   the discussion at this point, correct?
16   immerse in the Bayer model and data and      16        A. Yes.
17   decide if we should consider it solid        17        Q. Okay. It looks like Paul
18   enough to go forward with its projected      18   Soons is working for PRD BE. If you look
19   dose. I have already engaged two people      19   at the initials by his e-mail. Do you
20   in the CPEM group, Erik Mannaert and Juan    20   know what the PRD BE --
21   Jose Perez Ruixo, but I'd be grateful for    21        A. It means he works in
22   whatever other support you can identify      22   Belgium.
23   to allow us to down this down ASAP.          23        Q. Okay.
24   Thanks for your help. Pete."                 24        A. It's just a location. Most

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 1    events compared to the lower dose, that     1            MS. SHARKO: Object to the
 2    might raise questions of whether or not     2        form. And please indicate what
 3    there's a dose-response relationship for    3        the question is.
 4    that adverse event.                         4            MR. OVERHOLTZ: I raised my
 5         A. There's a question in there?        5        voice at the very end to make it a
 6         Q. Yeah. Is that -- is that a          6        question. Did you hear that?
 7    fair statement?                             7            MS. SHARKO: Well, I
 8         A. So -- I'm sorry.                    8        don't -- I don't see what the
 9         Q. I can say it again if you           9        question is. It sounds like
10    want me to.                                10        you're just making -- telling us
11         A. Sure.                              11        what you think.
12         Q. One of the risks of studying       12   BY MR. OVERHOLTZ:
13    a second dose in a Phase III trial is      13        Q. Did you understand what I
14    that if the higher dose shows a greater    14   was suggesting?
15    incidence of adverse events than the       15        A. Independent of whether it
16    lower dose, that may raise questions as    16   was a -- a question form, I'm not sure.
17    to whether there is a dose-response        17            If it's different than what
18    relationship between the drug and that     18   I thought I answered before --
19    particular adverse event.                  19        Q. I'll state it again. Let's
20             MS. SHARKO: Object to the         20   just get it straight.
21         form.                                 21        A. Okay.
22             THE WITNESS: So I think           22        Q. One of the risks of Xarelto
23         what you're asking is, can you see    23   from a regulatory perspective as far as
24         dose-related adverse events better    24   getting approval in the Afib indication

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 1       if you study multiple doses? And         1   was that if you study a lower dose in the
 2       I think the answer's -- the answer       2   same types of patients from a randomized
 3       could be yes. If they are                3   standpoint and there was a difference in
 4       dose-related, I would expect that.       4   the incidence of bleeding events where
 5            By the same token, you may          5   the higher dose showed greater incidence
 6       see dose-related advantages in           6   of bleeding events, that that might raise
 7       efficacy. So -- so that's why I          7   regulatory questions about whether or not
 8       guess I said, "I think the               8   the higher dose is a safe dose. Is that
 9       regulatory risk balances out."           9   a fair statement?
10       Because if you study two doses,         10        A. I don't think that the
11       you give yourself two chances for       11   presence or absence of a second dose
12       success on the efficacy side.           12   would influence the judgment of whether
13   BY MR. OVERHOLTZ:                           13   or not a higher dose or a lower dose was
14       Q. One of the regulatory risks          14   a safety risk. I think they would be
15   for Xarelto moving forward into the         15   judged on their own. So -- so that --
16   Phase III trial program was that if they    16   that was the question I heard that time.
17   studied a second lower dose than the        17        Q. Okay.
18   20-milligram dose and there were higher     18        A. But earlier I think I heard
19   bleeding events in the 20-milligram dose    19   you say two doses permits you to assess a
20   than the lower dose given to the same       20   dose-response.
21   group of patients that are randomized and   21            And I don't see that as a
22   together, that that might demonstrate       22   risk. If it was a risk, we wouldn't do
23   that there is a dose-response in bleeding   23   Phase II trials with multiple doses. The
24   events for Xarelto?                         24   fact is, we want to understand the

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